         Case 5:16-cv-01354-SLP Document 73 Filed 05/18/18 Page 1 of 6



                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

THE CHEROKEE NATION,             )
                                 )
        Plaintiff,               )
                                 )
        v.                       )                No: 5:16-cv-01354-SLP
                                 )
DEPARTMENT OF THE INTERIOR, )                     Judge Scott L. Palk
et al.,                          )
                                 )
        Defendants.              )
_________________________________)

                      DEFENDANTS’ RESPONSE TO
           PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY

       On May 4, 2018, Plaintiff submitted a Notice of Supplemental Authority (“Notice”),

citing Local Rule 7.1(m), regarding a ruling by the United States Court of Federal Claims

(“CFC”) on the United States’ motion for partial dismissal on jurisdictional grounds in

White Mountain Apache Tribe v. United States, No. 17-359 (Fed. Cl. Jan. 5, 2018). ECF

No. 72. Plaintiff’s submission is not in accordance with the requirements of the local rules.

Thus, this Court should strike or disregard the Notice. If the Court deems it appropriate to

allow the Notice and consider Plaintiff’s supplemental arguments therein, however, the

Court should also consider Defendants’ responses to those supplemental arguments, as set

forth below.

I.     Plaintiff’s Notice of Supplemental Authority Violates Local Rule 7.1(m) and
       Should Be Stricken or Disregarded.

       Rule 7.1(m) of the local rules allows a party to submit, without leave of court, notice

“[i]f authority directly relevant to an issue raised in a pending motion is issued after a
         Case 5:16-cv-01354-SLP Document 73 Filed 05/18/18 Page 2 of 6



party’s final brief has been filed.” In a submission under this rule, a party may identify

only the proposition in its final brief to which the new authority is relevant. L.R. 7.1(m).

If a party seeks to do more in its filing, e.g., present legal arguments regarding the new

authority, the party has to request and obtain leave of court to submit supplemental briefing.

Id.

       Plaintiff lodged its Notice of Supplemental Authority (ECF No. 72) in violation of

the requirements of Local Rule 7.1(m). The Notice contained several legal arguments

regarding the CFC’s ruling in White Mountain Apache and the effect of that CFC ruling on

Defendants’ pending motion to dismiss in this case (ECF No. 51). ECF No. 72, at 1-3.

Thus, Plaintiff effectively submitted a supplemental brief in further opposition to

Defendants’ motion (the briefing of which had been completed in July 2017), and Plaintiff

did so without prior conference with Defendants’ counsel or leave of this Court.

Accordingly, this Court should strike or disregard Plaintiff’s Notice of Supplemental

Authority in its entirety.

II.    Plaintiff’s Supplemental Arguments Regarding the Scope and Legal Effect of
       White Mountain Apache Are Overstated.

       In the event that this Court deems it appropriate to allow Plaintiff’s Notice of

Supplemental Authority and consider the supplemental legal arguments therein,

Defendants respectfully request that the Court also consider Defendants’ following

response to Plaintiff’s supplemental arguments.

       Plaintiff overstates the scope and effect of the CFC’s ruling in White Mountain

Apache regarding the statute of limitations. ECF No. 72 at 1-2. In White Mountain Apache,


                                             -2-
         Case 5:16-cv-01354-SLP Document 73 Filed 05/18/18 Page 3 of 6



the CFC determined that the six-year statute of limitations was applicable to the tribe’s

forest resource and range resource mismanagement claims and that application of the

statute barred the portions of the tribe’s claims that pre-dated March 15, 2011 (six years

before the date of the tribe filing suit in the CFC). White Mountain Apache Tribe, No. 17-

359, at 5-6, 8-9 (finding that the tribe’s mismanagement claims accrued “when the

operative facts exist and are not inherently unknowable” and quoting Menominee Tribe v.

United States, 726 F.2d 718, 720-22 (Fed. Cir. 1984)); see also Defendants’ Reply in

Support of Defendants’ Motion to Dismiss in this case, ECF No. 70, at 17-18. The CFC

reasoned that the tribe was “capable enough to seek advice, launch an inquiry, and

discovery through their agents the facts underlying their current claim.” White Mountain

Apache Tribe, No. 17-359, at 8. As to the applicability of the statute of limitations to the

tribe’s other trust resource mismanagement claims, including the minerals, environmental

contamination, rights-of-way, and natural resource leasing claims, the CFC withheld

judgment pending the outcome of limited jurisdictional discovery. The CFC made this

determination based on the court’s finding that the parties had not provided a sufficient

factual record in their briefing on which the court could decide the issue.

       Plaintiff also overstates the breadth and impact of the CFC’s ruling in White

Mountain Apache regarding the issue of whether the periodic statements of accounts

(“periodic statements of performance” or “PSPs”) that the Interior Department prepared

and transmitted to the tribe constituted the historical accounting required by law. In that

case, the CFC issued a very limited ruling, finding only that the tribe’s trust accounting

claims are not time-barred at this stage of the litigation. White Mountain Apache, No. 17-

                                            -3-
          Case 5:16-cv-01354-SLP Document 73 Filed 05/18/18 Page 4 of 6



354, at 11-12. In this case, Defendants presented several legal bases for dismissing

Plaintiff’s trust accounting claims (of which the statute of limitations is but one). See

Defendants’ Motion to Dismiss, ECF No. 51, at 10, 15, 28; Defendants’ Reply, ECF No.

70, at 3, 10.

       Further, Plaintiff overstates the scope and effect of the CFC’s ruling in White

Mountain Apache regarding the tolling provisions of the federal appropriations acts. In

that case, the CFC did not conduct a detailed examination of the manner in which the

appropriations acts tolled the running of the statute of limitations for the tribe’s trust

accounting and trust fund mismanagement claims. White Mountain Apache, No. 17-354,

at 10-12. Rather, the court summarily disposed of the United States’ argument, without

the benefit of full analysis. Here, Defendants asserted that, when Plaintiff filed this case

on November 28, 2016, the then-applicable appropriations act did not contain the language

that other courts had used to toll the statute of limitations for tribal trust accounting and

tribal trust mismanagement claims (identical or substantially similar to those asserted by

Plaintiff herein). Defendants’ Motion to Dismiss, ECF No. 51, at 33-34; Defendants’

Reply, ECF No. 70, at 14. Further, Defendants asserted that, under 31 U.S.C. § 1301, the

annual appropriations acts did not constitute permanent substantive laws and that they

therefore did not have the force and effect of valid law after their expiration. Defendants’

Motion to Dismiss, ECF No. 51, at 15, n. 3; Defendants’ Reply, ECF No. 70, at 15. The

CFC did not address this argument in its ruling in White Mountain Apache. Therefore, the

CFC’s ruling has or should have little or no effect on the outcome of this Court’s

determination regarding Defendants’ motion to dismiss in this case.

                                             -4-
  Case 5:16-cv-01354-SLP Document 73 Filed 05/18/18 Page 5 of 6



Respectfully submitted this 18th day of May, 2018,

                                 JEFFREY H. WOOD
                                 Acting Assistant Attorney General

                                 /s/ Dedra S. Curteman
                                 DEDRA S. CURTEMAN
                                 IL Bar #6279766
                                 ANTHONY P. HOANG
                                 FL Bar #0798193
                                 United States Department of Justice
                                 Environment Division
                                 Natural Resources Section
                                 P.O. Box 7611
                                 Washington, D.C. 20044-7611
                                 Tel: (202) 305-0446
                                 Tel: (202) 305-0241
                                 Fax: (202) 305-0506
                                 Dedra.Curteman@usdoj.gov
                                 Anthony.Hoang@usdoj.gov

                                 Attorneys for Defendants

                                 OF COUNSEL:

                                 DONDRAE MAIDEN
                                 SHANI WALKER
                                 JOSH EDELSTEIN
                                 Office of the Solicitor
                                 United States Department of the Interior
                                 Washington, D.C. 20240

                                 THOMAS KEARNS
                                 Office of the Chief Counsel
                                 Bureau of the Fiscal Service
                                 United States Department of the Treasury
                                 Washington, D.C. 20227




                                   -5-
         Case 5:16-cv-01354-SLP Document 73 Filed 05/18/18 Page 6 of 6



                              CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2018, I electronically transmitted the foregoing

document to the Clerk of the Court, using the ECF system for filing and transmittal of a Notice

of Electronic Filing to the following ECF registrants:

       Courtney R. Jordan
       Dallas L. Dale Strimple
       Deanna L. Hartley
       Jason B. Aamodt
       Krystina E. Phillips
       Michael T. Hembree
       Anne E. Lynch
       David F. Askman
       Michael M. Frandina
       Michael D. Goodstein

                                                         /s/ Dedra S. Curteman
                                                         DEDRA S. CURTEMAN




                                            -6-
